 Case 1:20-cv-06223-BMC Document 8 Filed 12/23/20 Page 1 of 7 PageID #: 25




      MANDATORY REQUIREMENTS FOR INITIAL STATUS CONFERENCE

       Counsel for all parties are directed to appear before the Honorable Brian M. Cogan for
an initial case management conference in accordance with Fed. R. Civ. P. 16 on the date and
time set forth in the ECF notice in Chambers 704S at the United States Courthouse, 225
Cadman Plaza East, Brooklyn, New York. Principal trial counsel must appear at this and all
subsequent conferences.

       Plaintiff(s) counsel (is) (are) directed to notify all attorneys in this action of the
conference schedule in writing.

       In cases where Fed. R. Civ. P. 26(f) applies, counsel for the parties shall confer in
compliance therewith at least twenty-one (21) days prior to the scheduled conference to agree
upon a proposed discovery plan.

       Counsel are directed to submit a joint letter to Chambers five days prior to the
conference with a brief description of the case, including factual, jurisdictional, and legal
basis for the claim(s) and defense(s); and addressing any contemplated motions.

       Counsel are directed to bring to the conference a completed Case Management
Plan using the attached form.

       Based on the complaint in this action, the Court has preliminarily classified this case
as non-complex and expects a Case Management Plan to provide for a maximum of 90 days
from the Initial Status Conference for completion of fact discovery. The parties may provide
for a longer period in their Case Management Plan and shall address the need for such longer
period at the Conference.

       Counsel are directed to review Judge Cogan’s Individual Practices, which may be
obtained on the Court’s website at https://www.nyed.uscourts.gov/content/judge-brian-m-
cogan. Requests for adjournment of the conference will be considered only if made in
writing and otherwise in accordance with Judge Cogan’s rules.

       Consent to Trial Before Magistrate Judge.

       If ALL parties consent to trial before a Magistrate Judge (with or without a jury), they
may execute and file by ECF the consent form at least 72 hours before the Initial Status
 Case 1:20-cv-06223-BMC Document 8 Filed 12/23/20 Page 2 of 7 PageID #: 26




Conference. Upon filing of such form, the Initial Status Conference will be cancelled and the
case referred to the Magistrate Judge, and the parties shall not file a Case Management Plan
unless directed by the Magistrate Judge. Failure to return the executed Magistrate Judge
consent form prior to the Initial Status Conference before Judge Cogan shall constitute a
waiver of the parties’ opportunity to proceed before a Magistrate Judge.




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 Case 1:20-cv-06223-BMC Document 8 Filed 12/23/20 Page 3 of 7 PageID #: 27




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------------------- X
                                                           :
 [PLAINTIFF]                                               :
                                                           : CIVIL CASE MANAGEMENT PLAN
                                     Plaintiff,            :
                        - against -                        : CV-__-____ (BMC)
                                                           :
 [DEFENDANT]                                               :
                                                           :
                                     Defendant.            :

----------------------------------------------------------- X

COGAN, District Judge

        After consultation with counsel for the parties, the following Case Management Plan
is adopted. This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure
16 and 26(f).

A.      The case (is)       (is not) to be tried to a jury. [Circle as appropriate].

B.      Non-Expert Discovery:

        1.       The parties are to conduct discovery in accordance with the Federal Rules of
                 Civil Procedure and the Local Rules of the Eastern District of New York. All
                 non-expert discovery is to be completed by _______________, which date
                 shall not be adjourned except upon a showing of good cause and further order
                 of the Court.       Interim deadlines for specific discovery activities may be
                 extended by the parties on consent without application to the Court, provided
                 the parties are certain that they can meet the discovery completion date.



                 The parties shall list the contemplated discovery activities and anticipated
                 completion dates in Attachment A, annexed hereto.




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Case 1:20-cv-06223-BMC Document 8 Filed 12/23/20 Page 4 of 7 PageID #: 28




     2.     Joinder of additional parties must be accomplished by _______________.

     3.     Amended pleadings may be filed without leave of the Court until
            ____________________.

C.   For all causes of action seeking monetary damages, each party shall identify and
     quantify in Attachment B, annexed hereto, each component of damages alleged; or, if
     not known, specify and indicate by what date Attachment B shall be filed providing
     such information.

D.   Motions:

     1.     Upon the conclusion of non-expert discovery, and no later than the date
            provided below, the parties may file dispositive motions. The parties shall
            agree to a schedule and promptly submit same for the Court’s approval,
            providing for no more than three rounds of serving and filing papers:
            supporting affidavits and briefs, opposing affidavits and briefs, and reply
            affidavits and briefs.

     2.     The last day for filing a letter, pursuant to Rule III.A.2 of the Court’s
            Individual Practices, requesting a premotion conference in order to file
            dispositive motions shall be _______________. (Counsel shall insert a date
            one week after the completion date for non-expert discovery.)

            a.      There shall be no cross-motions. Any motions not made by the agreed
                    date shall, unless the Court orders otherwise, not be considered until
                    after the timely-filed motion is determined.

            b.      Papers served and filed by the parties shall conform to the requirements
                    set out in the Court’s Individual Practices.

E.   Any request for relief from a date provided in this Case Management Plan shall
     conform to the Court’s Individual Practices and include an order, showing consents
     and disagreements of all counsel, setting out all dates that are likely to be affected by
     the granting of the relief requested, and proposed modified dates. Unless and until the
     Court approves the proposed order, the dates provided in this Plan shall be binding.

F.   Pre-Trial Motions:


                                                                                            4
Case 1:20-cv-06223-BMC Document 8 Filed 12/23/20 Page 5 of 7 PageID #: 29




      Applications for adjournments and for discovery or procedural rulings will reflect or
      contain the positions of all parties, as provided by the Court’s Individual Rules, and
      are not to modify or delay the conduct of discovery or the schedules provided in this
      Case Management Plan except upon leave of the Court.


SO ORDERED.



Dated: Brooklyn, New York                                       U.S.D.J.
       _____ __, 20__




                                                                                          5
 Case 1:20-cv-06223-BMC Document 8 Filed 12/23/20 Page 6 of 7 PageID #: 30




                                   ATTACHMENT A

The Parties are to list the discovery activities (i.e., production of documents, number of
depositions, requests to admit, interrogatories) and anticipated completion dates:

       DISCOVERY ACTIVITIES                             COMPLETION DATE
1.



2.



3.



4.



5.



6.



7.



8.



9.



10.




                                                                                        6
 Case 1:20-cv-06223-BMC Document 8 Filed 12/23/20 Page 7 of 7 PageID #: 31




                                  ATTACHMENT B

For all causes of action seeking monetary damages, each party shall identify and
quantify each component of damages alleged:


1.     PLAINTIFF’S CLAIMS:




2.     COUNTERCLAIMS AND CROSS-CLAIMS:




3.     THIRD-PARTY CLAIMS:




                                                                                   7
